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                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF GEORGIA
                                            ATLANTA DIVISION

                                                        ..
                                                        ..      PRISONER CIVIL RIGHTS
             TROY BARBER,
                                                        ..
                   Plaintiff,                           ..      42 u.s.c. § 1983
                                                        ..
                                                        ..
                                                        ...
                   v.                                   .




                                                         .
                                                         .
                                                        .

                                                        .




             THEODORE JACKSON et al.,                   ..      CIVIL ACTION NO.
                                                        .

                                                            .




                                                        ..
                                                        ..      1:l7-CV-3619-MHC-LTW
                   Defendants.


                  ORDER FOR SERVICE OF REPORT AND RECOMMENDATION


                   The Report and Recommendation of the United States Magistrate Judge, made


             in accordance with 28 U.S.C. § 636(b)(l) and this Court's Local Rule 72, has been


             filed. The Report and Recommendation and a copy of this Order shall be served upon


             counsel for the parties and upon any unrepresented parties.


                   Pursuant to 28 U.S.C. § 636(b)(l)(C), within fourteen     (14) days of service of

             this Order, each party may file written objections, if any, to the Report and


             Recommendation. If objections are filed, they shall specify with particularity the


             alleged error or errors made (including reference by page number to the transcript if


             applicable) and shall be served upon the opposing party. The party filing objections


             will be responsible for obtaining and filing the transcript of any evidentiary hearing


             for review by the District Court.      If no objections are filed, the Report and


             Recommendation may be adopted as the opinion and order of the District Court, and




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             any appellate review of the factual and legal findings will be limited to a plain error


             review. United States   v.   Slay, 714 F.2d 1093, 1095 (11th Cir. 1983); 11th Cir. R. 3-1.


                   The Clerk is DIRECTED to submit the Report and Recommendation with


             objections, if any, to the District Judge after expiration of the time period stated above.


                   SO ORDERED this          J__ day of     CJa4                 , 2017.




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                                                        UNITED STATES MAGISTRATE JUDGE




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